         1:10-cr-00093-jgm   Document 68   Filed 05/11/11   Page 1 of 5



                      UNITED STATES DISTRICT COURT
                                 FOR THE
                           DISTRICT OF VERMONT


United States of America,       :
          Plaintiff,            :
                                :
v.                              :          File No. 1:10-cr-93 (jgm)
                                :
Ronald Lyons, Kimberly Baker,   :
and Shaquan Baptiste,           :
          Defendants.           :
________________________________:


      MEMORANDUM AND ORDER ON MOTIONS TO DISMISS INDICTMENT
                          (Docs. 57, 59)

     Defendants Ronald Lyons and Shaquan Baptiste have each filed

a Motion to Dismiss the Indictment.         The identical motions argue

the single count of the Indictment, charging each defendant with

conspiracy to distribute oxycodone in violation of 21 U.S.C. §§

846, 841 (b)(1)(C), should be dismissed because 21 U.S.C. § 841

(prohibiting distribution of controlled substances) and 21 U.S.C.

§ 812 (defining Schedule II substances) do not apply to

Defendants’ conduct, and the statutes and regulations identifying

oxycodone as a Schedule II substance are unconstitutionally

vague.   Defendants claim contradictory clauses operate to both

include and exclude from Schedule II a substance from which

oxycodone is derived.        Ms. Baptiste requests funding for a

defense expert in organic chemistry and a hearing on the matter.

     The motions to dismiss, and the request for an expert and a

hearing, are denied because the statute explicitly identifies

“oxycodone” as a Schedule II controlled substance.              Defendants
          1:10-cr-00093-jgm   Document 68    Filed 05/11/11   Page 2 of 5



have not presented a factual dispute regarding whether

oxycodone’s chemical classification could bring it within the

statute and regulation’s exclusion.

I.   The Relevant Statutes and Regulations

     Schedule II, set out in 21 U.S.C. § 812, Schedule II, and 21

C.F.R. § 1308.12, identifies various drugs and substances as

controlled substances.        Section 812, Schedule II (a)(1) includes

“[o]pium and opiate, and any salt, compound, derivative, or

preparation of opium or opiate.”            21 U.S.C. § 812, Schedule II

(a)(1).    The next subsection, Schedule II (a)(2), further

includes “[a]ny salt, compound, derivative, or preparation

thereof which is chemically equivalent or identical with any of

the substances referred to in clause (1), except that these

substances shall not include the isoquinoline alkaloids of

opium.”    21 U.S.C. § 812, Schedule II (a)(2).

     The Code of Federal Regulations also provides Schedule II

substances will include “[o]pium and opiate, and any salt,

compound, derivative, or preparation of opium or opiate excluding

. . . [listing various substances not at issue here], but

including the following: . . . (xiii) Oxycodone.”               21 C.F.R. §

1308.12 (b)(1) and (b)(1)(xiii).            Schedule II also specifically

names “Thebaine” in the list of controlled substances.                 See 21

C.F.R. § 1308.12 (b)(1)(xvii).         The next subsection of the

regulation further includes “[a]ny salt, compound, derivative, or


                                       2
        1:10-cr-00093-jgm   Document 68   Filed 05/11/11   Page 3 of 5



preparation thereof which is chemically equivalent or identical

with any of the substances referred to in paragraph (b)(1) of

this section, except that these substances shall not include the

isoquinoline alkaloids of opium.”         21 C.F.R. § 1308.12(b)(2).

The government expert’s Declaration states that while 21 U.S.C. §

812(a)(1) and 21 C.F.R. § 1308(b)(1) control substances as

compounds, derivatives, or preparations of opium, 21 U.S.C. §

812(a)(2) and 21 C.F.R. § 1308(b)(2) control substances

synthesized from non-opium or man-made chemicals, where the

resulting compound has a chemical structure equivalent to the

opium-derived substances.      (DiBerardino Decl., Doc. 60-1 ¶¶ 8,

9.)

II.   Discussion

      The statute and regulation clearly identify oxycodone as a

Schedule II substance.      According to the Supreme Court, to

satisfy due process, a penal statute must “define the criminal

offense with sufficient definiteness that ordinary people can

understand what conduct is prohibited and in a manner that does

not encourage arbitrary and discriminatory enforcement.”

Kolender v. Lawson, 461 U.S. 352, 357 (1983); see also United

States v. Roberts, 363 F.3d 118, 122 (2d Cir. 2004) (applying the

Kolender test to a federal drug statute and holding its

definition of a controlled substance analogue was not

unconstitutionally vague as applied).         Defendants’ motions fail


                                     3
       1:10-cr-00093-jgm   Document 68   Filed 05/11/11   Page 4 of 5



to articulate a factual issue regarding whether oxycodone’s

chemical classification renders the statute vague.

     Defendants assert, and the government concedes, that

oxycodone is derived from, or synthesized from, thebaine.               (See

e.g., Doc. 57 at 1; Doc. 58 at 2.)       Defendants argue thebaine is

an isoquinoline alkaloid of opium and cite various sources on the

internet identifying thebaine as such.        (Doc. 62, identifying

onlinelibrary.wiley.com, eprints.iisc.emet.in and beneforce.com,

among others, which suggest thebaine is an isoquinoline alkaloid,

and acknowledging that some online sources also support the

government’s position thebaine is a phenanthrene alkaloid.)

Because oxycodone is derived from thebaine, Defendants argue,

oxycodone is “effectively” excluded from Schedule II by the

exclusion of “isoquinoline alkaloids of opium.”           The government’s

expert counters that “scientific literature classifies thebaine

as a phenanthrene alkaloid” and that “it is incorrect to refer to

thebaine as an isoquinoline alkaloid.”        (DiBerardino Decl., Doc.

60-1 ¶6.)   The government’s expert also declares “[o]xycodone is

classified as a phenanthrene alkaloid.”        (Id. ¶ 12.)

     Defendants do not argue oxycodone is, itself, an

isoquinoline alkaloid of opium or that any sources support this

contention.   If Defendants were charged with conspiracy to

distribute thebaine, their reference to some evidence of

disagreement regarding whether thebaine is an isoquinoline


                                    4
       1:10-cr-00093-jgm   Document 68   Filed 05/11/11   Page 5 of 5



alkaloid or a phenanthrene alkaloid may warrant funds for a

defense expert and a hearing to resolve the factual dispute.

     However, the statute and regulation clearly include

oxycodone in the list of controlled substances, and this

sufficiently provides criminal defendants with notice that their

conduct in distributing, or conspiring to distribute, oxycodone

is prohibited by statute.     The Defendants do not argue oxycodone

is an isoquinoline alkaloid or present any evidence calling into

question the government expert’s declaration that oxycodone is a

phenanthrene alkaloid.

III. Conclusion

     Therefore, Defendants’ Motions to Dismiss the Indictment

(Docs. 57, 59) are DENIED.     Ms. Baptiste’s requests for funding

for a defense expert in organic chemistry and a hearing (Doc. 62)

are DENIED.

     SO ORDERED.

     Dated at Brattleboro, in the District of Vermont, this 11th

day of May, 2011.



                                  /s/ J. Garvan Murtha
                                  Honorable J. Garvan Murtha
                                  Senior United States District Judge




                                    5
